                                                                FILED IN OPEN COURT.::, ~
                                                                ON   1-"2~~                o
                                                                    Peter A. Moore, Jr., Clerk
                                                                    US District Court
                                                                    Eastern District of NC
                      UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                            WESTERN DIVISION


UNITED STATES OF AMERICA                      )
                                              )
              V.                              )     INDICTMENT
                                              )
ERICKA ANDREA MONIQUE JOHNSON                 )     NO. S·· '20-{.J2- 334-j
ANTREAL HENDERSON                             )     N0.5: 20::(£-334-2
MARIEL DURAND INGRAM
CORIONTA DOMINIQUE COOPER
FREDERICK DESHAWN JOHNSON
                                              )
                                              )
                                              )
                                                    ~g:g~ fg-=~~~=          t[
                                                    No5: 2.0-CJ:2-::2.i?id- 5
ROBERT AHSAMD JOHNSON                         )     No.5:2Q-Ll2-33Y-lo
STEPHAN ANTONIO JOHNSON                       )     N0.5 :2,Q--:(J?-334- 7
MONTAGUE AARON MCMILLAN                       )     N0.~·-'2O-~-33Jl6
JASMA TERA MCNEILL                            )      NO.  :?.0- -33 - 9
JOHN ARCHIE MCNEILL, JR.                      )     No.s·-2O2:f-9=1?
JOHNATHAN MAURICE MACK                        )     No. 5:l)-    -~-I
STEVEN LARUE ROBINSON                         )     NO. 5~ 2 O::CJ:2-334-/ 1-
MALCOLM RASOUL SANCHEZ                        )      NO 5·- '2-0::Ll2-3?4-I 3




The Grand Jury charges that:

                                    COUNT ONE

      1.      At all times relevant to this Indictment, Pentagon Federal Credit Union

("PenFed") and USAA Federal Savings Bank ("USAA") were financial institutions

within the meaning of Title 18, United States Code, Section 20. It was the practice

and policy of both institutions to immediately credit a customer's account at the time

a check was deposited, thereby increasing the balance in that account by the amount

of such deposit. After the deposit was credited to the account, the customer was able

to make immediate cash withdrawals against the increased balance. In the event a


                                          1
           Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 1 of 27
check was not backed by sufficient funds in the payer's account, the financial

institutions would not discover this fact until after the check was presented to the

issuing bank for payment, typically days later. The delay between the crediting of

the check and the presentation of the check for payment was commonly referred to in

the banking industry as the "float ."

      2.      A non-sufficient funds ("NSF") check was a t erm used in the banking

industry to refer to a check that could not be honored by the issuing bank upon

presentation because, among other possible reasons, the check amount was greater

than the balance in the account from which it was drawn, the account was closed, or

there was no such account.

                             THE SCHEME TO DEFRAUD

      3.      At all times relevant to this Indictment, the Defendants, CORIONTA

DOMINIQUE COOPER, ANTREAL HENDERSON, MARIEL DURAND INGRAM,

ERICKA ANDREA MONIQUE JOHNSON, FREDERICK DESHAWN JOHNSON,

ROBERT AHSAMD JOHNSON, STEPHAN ANTONIO JOHNSON, MONTAGUE

AARON MCMILLAN, JASMA TERA MCNEILL, JOHN ARCHIE MCNEILL JR.,

JOHNATHAN MAURICE MACK, STEVEN LARUE ROBINSON, and MALCOLM

RASOUL SANCHEZ, en gaged in a scheme colloquially known as "card-cracking",

where the conspirators made NSF check deposits, often via Automated Teller

Machine ("ATM"), into checking accounts they opened using the personal identifying

information of unsuspecting victims and into checking accounts maintained by

collusive accountholders. After the deposits were made, the conspirators conducted



                                         2
           Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 2 of 27
point of sale ("POS") transactions and cash withdrawals against the deposit credit to

obtain money during the "float" period before the financial institution recognized the

fraud . The same NSF checks were often deposited into several different checking

accounts.     The Defendants used ATM/debit cards and associated personal

identification numbers ("PINs") for the accounts they accessed.

      4.       It was a further part of the scheme and artifice to defraud that the

conspirators used the personal identifying information of unsuspecting victims to

apply for loans at PenFed.

      5.      Although most Defendants resided in the Eastern District of North

Carolina, it was a further part of the scheme and artifice to defraud that the

conspirators often traveled to various locations outside of the Eastern District of

North Carolina, including Virginia, Maryland, South Carolina, Georgia, Delaware,

New York and New Jersey, to perpetuate the fraud on the targeted financial

institutions while slowing down their potential detection.

      6.      Beginning in or around March 2018, and continuing up to and including

the date of this indictment, in the Eastern District of North Carolina and elsewhere,

the Defendants, CORIONTA DOMINIQUE COOPER, ANTREAL HENDERSON,

MARIEL       DURAND      INGRAM,    ERICKA     ANDREA        MONIQUE     JOHNSON,

FREDERICK DESHAWN JOHNSON, ROBERT AHSAMD JOHNSON, STEPHAN

ANTONIO       JOHNSON, MONTAGUE            AARON     MCMILLAN, JASMA TERA

MCNEILL, JOHN ARCHIE MCNEILL JR. , JOHNATHAN MAURICE MACK,

STEVEN LARUE ROBINSON, and MALCOLM RASOUL SANCHEZ, did knowingly



                                          3
           Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 3 of 27
and intentionally combine, conspire, confederate, agree,           and have a tacit

understanding with each other and other persons both known and unknown to the

Grand Jury, to commit an offense against the United States, that is, to knowingly

execute, and attempt to execute, a scheme and artifice to defraud financial

institutions as defined in Title 18, United States Code, Section 20, and to obtain

money, funds, credits, assets, securities, and other property owned by, and under the

custody and control of, said financial institutions, by means of materially false and

fraudulent pretenses, representations, and promises, to wit: the Defendants, and

others both known and unknown to the Grand Jury, defrauded Pentagon Federal

Credit Union ("PenFed"), USAA Federal Savings Bank ("USAA"), and other financial

institutions by depositing NSF checks, in excess of approximately $740,000, into

checking accounts the conspirators opened and/or accessed, knowing the checks were

fraudulent, and later using, or attempting to use , a portion of said funds before the

fraud was detected, and by applying for loans in their victims' names, thereby causing

a total approximate loss of more than $430,000 to said financial institutions, m

violation of Title 18, United States Code, Sections 1344(1) and (2) .

                              OBJECT OF CONSPIRACY

      7.       The object of the conspiracy was to defraud financial institutions and to

obtain money, credit, and other things of value from financial institutions.




                                            4
           Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 4 of 27
                                     OVERT ACTS

       8.       In furtherance of the conspiracy and to effect the object thereof, the

Defendants, CORIONTA DOMINIQUE COOPER, ANTREAL HENDERSON,

MARIEL        DURAND      INGRAM,     ERICKA ANDREA          MONIQUE      JOHNSON,

FREDERICK DESHAWN JOHNSON, ROBERT AHSAMD JOHNSON, STEPHAN

ANTONIO         JOHNSON,     MONTAGUE       AARON      MCMILLAN, JASMA TERA

MCNEILL, JOHN ARCHIE MCNEILL JR. , JOHNATHAN MAURICE MACK,

STEVEN LARUE ROBINSON, MALCOLM RASOUL SANCHEZ, and others both

known and unknown to the Grand Jury, committed and caused to be committed one

or more of the following overt acts, among others:

                a.    On or about March 10, 2018, Defendant ROBERT AHSAMD

JOHNSON possessed approximately 8 fraudulent State Employee's Credit Union

checks bearing the account numbers of other financial institutions and the names of

M.L. , T.W. , and T.S. , as well as a USAA debit card in the name of C.M.B. and USAA

debit card correspondence in the name of N.L. , while seated as a front passenger in a

vehicle rented by JOHNSON's girlfriend, J.H. , in Hoke County. Law enforcement

also recovered a red notebook labeled "Step Da Don" containing the personal

identifying information ("PII"), bank account numbers, a nd passwords of more than

ten individuals laying between the front passenger seat and the center console of the

vehicle.

               b.     On or about June 3, 2003, M.W. opened a PenFed account, ending

in 6027. On or about October 26, 2018, an unidentified conspirator deposited 3 NSF



                                           5
            Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 5 of 27
checks, totaling approximately $2,490.00, into the M.W. account via mobile deposit.

One of those checks, No. 125 in the amount of $700.00, was drawn on the closed State

Farm Bank account of Q.R., an associate of Defendant MALCOLM RASOUL

SANCHEZ. On or about October 27, 2018, an unidentified conspirator deposited 2

additional NSF checks, totaling approximately $4,100.00, into the M.W. account via

mobile deposit. Both checks were determined to be counterfeit. On or about October

29, 2018,    Defendant MALCOLM RASOUL              SANCHEZ      made    two   $500.00

withdrawals from the M.W. account at a State Employee's Credit Union ("SECU")

ATM in Fayetteville, North Carolina, and made a $75.74 purchase at a Fayetteville

Food Lion. In total, between October 26, 2018, and November 1, 2018, approximately

13 NSF checks, totaling approximately $27,085.00, were deposited into the M.W.

account, and numerous ATM cash withdrawals as well as POS transactions, totaling

approximately $13,575.45, were conducted on the account.

             c.    On or about November 27, 2018, S.L.'s name, date of birth, and

social security number were used to open a USAA account, ending in 3091, via

telephone.   On or about November 30, 2018, Defendant STEPHAN ANTONIO

JOHNSON deposited 2 NSF checks, totaling approximately $1,000.00, into the S.L.

account at an USAA ATM in Fayetteville, North Carolina. Check number 1700, in

the amount of $500.00, was written on the closed PNC Bank account ofL.C. and check

number 350, in the amount of $500.00, was written on the Capital One Bank account

of C.H.   On or about December 1, 2018, an unidentified conspirator deposited 2

additional NSF checks, totaling approximately $1,000.00, into the S ..L. account at an



                                          6
          Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 6 of 27
USAA ATM in Fayetteville, North Carolina. Each of the NSF checks were written

for $500.00 and drawn on the closed USAA Bank account of A.J. The checks, along

with several other items, were reported stolen from A.J.'s Robeson County home on

or about November 29, 2018. USAA sustained a total approximate loss of $1 ,007.48

on the S.L. account.

             d.        On or about January 22, 2019, N.M.'s name , date of birth, and

social security number were used to open a PenFed account, ending in 3022. On or

about February 1, 2019, Defendant ROBERT AHSAMD JOHNSON deposited at least

5 NSF checks, totaling approximately $3,000.00, into the N.M. account at a Navy

Federal Credit Union ("NFCU") ATM in Fayetteville, North Carolina, and made two

$500.00 withdrawals. Later that day, an unidentified conspirator conducted two

additional POS transactions on the N.M. account, totaling approximately $981. 76, at

a Walmart in Raeford, North Carolina. PenFed sustained a total approximate loss of

$1,981.76 on the N.M. account.

             e.    On or about April 26, 2019, S.C.'s name, date of birth, and social

security number were used to open a PenFed account, ending in 6019, via telephone.

On or about April 29, 2019, Defendant ROBERT AHSAMD JOHNSON withdrew

$20.00 from the S.C. account at a PenFed ATM in Woodbridge , Virginia. That day,

an unidentified conspirator deposited 8 NSF checks, totaling approximately

$3,763.00, into the S.C. account at NFCU ATMs in Dumfries and Richmond, Virginia.

An unidentified conspirator also conducted at least 5 transactions on the account,

totaling approximately $2,405.85, via ATM cash withdrawals and POS purchases in



                                            7
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 7 of 27
Dumfries, Henrico, and Richmond Virginia. PenFed sustained a total approximate

loss of $2,425.85 on the S.C. account.

                f.   On or about May 6, 2019, R.B.'s name, date of birth, and social

security number were used to open a PenFed account, ending in 7018, via telephone.

On or about May 9, 2019, an unidentified conspirator deposited 6 NSF checks,

totaling approximately $3,000.00, into the R.B. account, and 4 withdrawals, totaling

approximately $2,007.48, at an NFCU ATM in Clarksville, Tennessee. One POS

transaction, totaling approximately $483. 7 4, was also conducted at a Clarksville

Walmart. That day, 5 additional NSF checks, totaling approximately $5,000.00, were

deposited into the R.B. account at an NFCU ATM in Fayetteville, North Carolina.

An individual known to the Grand Jury as D.F. deposited at least 2 of the 5 NSF

checks. The checks D.F. deposited were written in $500.00 increments on the PNC

Bank account of D.S. , which mirrored the remaining 3 checks deposited in

Fayetteville.

      On or about May 10, 2019, Defendant ROBERT AHSAMD JOHNSON

conducted 7 POS transactions, totaling approximately $1,396.16, on the R.B . account

at a Walmart in Fayetteville, North Carolina.     Defendant STEPHAN ANTONIO

JOHNSON conducted 1 POS transaction, totaling approximately $102.01, on the

account at the same Walmart.        PenFed sustained a total approximate loss of

$4,995.39 on the R.B. account.




                                          8
         Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 8 of 27
             g.    On or about June 18, 2019, Defendants ROBERT AHSAMD

JOHNSON      and   STEPHAN      ANTONIO       JOHNSON      possessed    the   PII   of

approximately 91 individuals.    Approximately 54 PenFed accounts were either

opened, or attempted to be opened, using the recovered PII, including the S.C. and

R.B. accounts referenced in Paragraphs 8(e) and S(f) above. PenFed also received at

least 10 loan applications, totaling approximately $64,840.00 in requested credit,

associated with the recovered PII. PenFed declined the loan applications.

            h.     On or about July 31, 2019, R.M.'s name, date of birth, and social

security number were used to open a PenFed account, ending in 9020, via telephone.

On or about August 2, 2019, an unidentified conspirator deposited 9 NSF checks,

totaling approximately $5,340.00, into the R.M. account at an NFCU ATM in Vienna,

Virginia, and made two withdrawals, totaling approximately $1,000, immediately

after the deposits. At least 4 of the deposited NSF checks were written on the closed

Wells Fargo account of D.G.

             On or about August 3, 2019, Defendant STEPHAN ANTONIO

JOHNSON made two $500.00 withdrawals from the R.M. account at an ATM in

Gaston, North Carolina, and conducted at least 4 POS transactions, totaling

approximately $1,901.84, at Food Lion stores in Fayetteville, North Carolina.

Defendant MONTAGUE AARON MCMILLAN also conducted a $350.46 POS

transaction on the R.M. account at a Fayetteville Food Lion.        Later that day,

Defendant ERICKA ANDREA MONIQUE JOHNSON deposited 3 additional NSF

checks, totaling approximately $1,810.00, into the R.M. account at an NFCU ATM in



                                         9
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 9 of 27
Fayetteville. One of the deposited checks mirrored the D.G. checks deposited into the

R.M. account on or about August 2.      Defendant ERICKA ANDREA MONIQUE

JOHNSON then conducted at least 6 POS transactions, totaling approximately

$1,665.80, at Fayetteville Food Lion and Walmart stores.        Defendant ERICKA

ANDREA MONIQUE JOHNSON r eturned to the NFCU ATM and deposited 3

additional NSF checks, totaling approximately $1,920.00, into the R.M. account.

Each deposited check was written on the NFCU account of K.B. Defendant JASMA

TERA MCNEILL then conducted at least 2 POS transactions, totaling approximately

$1,180.90, on the R.M. account at a Fayetteville Food Lion. Defendant ERICKA

ANDREA MONIQUE JOHNSON conducted at least 2 additional POS transactions,

totaling approximately $356.44, at another Fayetteville Food Lion. P enFed sustained

a total approximate loss of $7,477.66 on the R.M. account.

              1.   On or about August 12, 2019, A.H.'s name, date of birth, and

social security number were used to open a PenFed account, ending in 2028, via

telephone .   On or about August 15, 2019, Defendant ANTREAL HENDERSON

deposited at least 8 NSF checks into the A.H. account at an NFCU ATM in

Fayetteville, North Carolina. Each deposited check was written on the closed PNC

Bank account of J.C. That day, an unidentified conspirator deposited 19 additional

NSF checks into the account and conducted several POS transactions, as well as at

least one ATM cash withdrawal, thereby causing PenFed a total approximate loss of

$8,413.96 on the A.H. account.




                                         10
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 10 of 27
            J.    On or about August 17, 2019, K.M.'s name, date of birth, and

social security number were used to open a PenFed account, ending in 8024, via

telephone. On or about August 21, 2019, Defendant ERICKA ANDREA MONIQUE

JOHNSON deposited 12 NSF checks, totaling approximately $7,170.00, into the K.M.

account at an NFCU ATM in Fayetteville, North Carolina. Eight of the checks were

written on the PNC Bank account of L.C. and 4 of the checks were written on the

SECU account of G.C. That day, Defendant CORIONTA DOMINIQUE COOPER

deposited 3 NSF checks, totaling approximately $1,500.00, into the same account at

the same NFCU ATM while Defendant STEPHAN ANTONIO JOHNSON was seated

in the passenger seat. The checks mirrored the G.C. checks Defendant ERICKA

ANDREA MONIQUE JOHNSON deposited into the account earlier in the day.

Defendant STEPHAN ANTONIO JOHNSON also deposited 3 NSF checks, totaling

approximately $1,802.00, into the K.M. account via the same NFCU ATM. The

checks mirrored the L.C. checks Defendant ERICKA ANDREA MONIQUE

JOHNSON deposited into the account earlier in the day. Defendant JASMA TERA

MCNEILL conducted at least 6 transactions, totaling approximately $2,365.69, on

the account at a Fayetteville Walmart. Defendant ERICKA ANDREA MONIQUE

JOHNSON conducted 3 transactions, totaling approximately $1,963.48, at the same

Walmart. Defendants ERICKA ANDREA MONIQUE JOHNSON and JASMA TERA

MCNEILL were together the same Walmart when a $597.94 transaction was

declined.   K.M.' s PenFed debit card was recovered from Defendant ERICKA




                                       11
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 11 of 27
ANDREA MONIQUE JOHNSON's home on September 23, 2019. PenFed sustained

a total approximate loss of $7,505.82 on the K.M. account.

               k.    On or about August 20, 2019, T.C.'s name, date of birth, and social

security number were used to open two PenFed accounts, ending in 6026 and 4019,

via telephone. Between on or about August 24, 2019, and on or about August 26,

2019, Defendant MALCOLM RASOUL SANCHEZ deposited a total of at least 118

NSF checks, totaling approximately $56,123.00, into the T.C . accounts at an NFCU

ATM in Fayetteville , North Carolina. The deposited checks varied by bank and

account name, but they were all printed on similar paper and contained similar

security features . On or about August 24, 2019, Defendant MALCOLM RASOUL

SANCHEZ conducted at least 2 POS transactions, totaling approximately $5,004.60,

on the account ending in 6026 at Fayetteville Food Lion stores . On or about August

25, 2019, Defendant MALCOLM RASOUL SANCHEZ conducted at least 2 additional

POS transactions, totaling approximately $3,506.04, on the account ending in 6026

at Fayetteville Food Lion and Walmart stores. PenFed sustained a total approximate

loss of $25,210.78 on the T.C. account.

      1.       On or about August 22, 2019, L.E.'s name, date of birth, and social

security number were used to open a PenFed account, ending in 9025, via telephone.

On or about August 26, 2019, Defendant STEPHAN ANTONIO JOHNSON deposited

at least 14 NSF checks, totaling approximately $7,900.00, into the L.E. account at an

NFCU ATM in Fayetteville, North Carolina. The checks were written in $500.00,

$600.00, and $700.00 increments on the USAA Bank account of K.B.             That day,



                                           12
           Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 12 of 27
Defendant STEPHAN ANTONIO JOHNSON also conducted at least 2 POS

transactions, totaling approximately $1,000.92, on the account at a Fayetteville Food

Lion. Defendant JASMA TERA MCNEILL conducted at least 4 POS transactions,
      -
totaling approximately $1,936.20, on the account at a different Fayetteville Food

Lion.

        On or about August 27, 2019, Defendant ERICKA ANDREA MONIQUE

JOHNSON deposited at least 10 NSF checks, totaling approximately $6,181.00, into

the L.E. account via the same NFCU ATM. With the exception of the dollar amount

and listed account number, the checks mirrored the K.B. checks Defendant

STEPHAN ANTONIO JOHNSON deposited into the L.E. account on or about August

26. PenFed sustained a total approximate loss of $13,733.56 on the L.E. account.

             m.    On or about August 27, 2019, F.S.'s name, date of birth, and social

security number were used to open a PenFed account, ending in 7021 , via telephone.

On or about August 30, 2019, Defendant JOHN ARCHIE MCNEILL JR. deposited 25

NSF checks, totaling approximately $15,399.69, into the F.S. account at an NFCU

ATM in Fayetteville, North Carolina. With the exception of the dollar amount, at

least 6 of the deposited checks mirrore d the K.B. USAA Bank ch ecks Defendant

ERICKA ANDREA MONIQUE JOHNSON deposited into the L.E. account referenced

in P aragraph 8(1) above .   That day, Defendant JOHN ARCHIE MCNEILL JR.

conducted at least 4 transactions on the F.S. account, totaling approximately

$2,404.20, at Walmart and Food Lion stores, as well as a Cash Points ATM, in




                                         13
         Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 13 of 27
Fayetteville. PenFed sustained a total approximate loss of $9,921.76 on the F.S.

account.

               n.    On or about September 9, 2019, J .J .'s na me, date of birth, and

social security number were used to open a PenFed account, ending in 0020, via

telephone.     On or about September 16, 2019, Defendant STEPHAN ANTONIO

JOHNSON deposited 7 NSF checks, totaling approximately $4,080.00, into the J.J.

account at an NFCU ATM in Raleigh, North Carolina. That day, Defendant JASMA

TERA MCNEILL deposited 6 additional NSF checks, totaling approximately

$3,532.00, into the account at an NFCU ATM in Fayetteville, North Carolina. With

the exception of the dollar amount, the checks mirrored the K.B. USAA Bank checks

Defendant STEPHAN ANTONIO JOHNSON deposited into the L.E. account

referenced in Paragraph 8(1) above . Defendant JASMA TERA MCNEILL also

conducted at least 5 transactions on the J .J . account, totaling approximately

$3,844.66, at a Fayetteville Walmart.     Defendant ERICKA ANDREA MONIQUE

JOHNSON deposited 7 additional NSF checks, totaling approximately $4,095. 00,

into the account at an NFCU ATM in Fayetteville, and conducted at least 1

transaction, totaling approximately $988.7 4, at a Fayetteville Walmart.

      On or about September 17, 2019, Defendant ERICKA ANDREA MONIQUE

JOHNS-ON deposited 5 NSF checks, totaling approximately $2,760.00, into the J .J.

account at an NFCU ATM in Fayetteville. With the exception of the dollar amount,

the checks mirrored the K.B. USAA Ba nk checks referenced above. Defendant

J ASMA TERA MCNEILL then conducted 3 transactions on the J.J. account, totaling



                                          14
           Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 14 of 27
approximately $1,020.02, a nd attempted an $803 .74 transaction that was declined,

at a Fayetteville Walmart.       Defendant JASMA TERA MCNEILL deposited 3

additional NSF checks, totaling approximately $1,6 10.00, into the J.J. account at an

NFCU ATM in Fayetteville. They were the same ch ecks written on the USAA Bank

account of K.B. PenFed sustained a total approximate loss of $13,399.60 on the J.J.

account.

             o.    On or about September 12, 2019, A.G.'s name, date of birth, and

social security number were used to open a P enFed account, ending in 5025, via

telephone.   On or about Sept ember 16, 2019, Defenda nt ERICKA ANDREA

MONIQUE JOHNSON deposited 11 NSF checks, totaling approximately $6,460.00,

into the A.G. account at NFCU ATMs in Raleigh and Fayetteville, North Carolina.

At least 5 of the checks mirrore d the ch ecks written on the K.B. USAA Bank account

deposited into the PenFed accounts in the names of L.E. and J.J. referenced in

P aragraphs 8(1) and 8(n) above. An unidentified individual deposited 10 additional

NSF checks, totaling approximately $6,166.00, into the account at NFCU ATMs in

Raleigh and Fayett eville.   The same day, Defendant JASMA TERA MCNEILL

conducted at least 3 transactions, totaling approximately $2,501.22, on the A.G.

account at a Fayetteville Walmart. PenFed sustained a total approximate loss of

$9,040.80 on the A.G. account.

             p.    On or about September 23, 2019, Defendant ERICKA ANDREA

MONIQUE      JOHNSON possessed the            PII   of more   than   180 individuals.

Approximately 67 PenFed accounts were either opened, or attempted to be opened,



                                         15
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 15 of 27
usmg the recovered PII, including the K.M. and A.G. accounts referenced in

Paragraphs 8(j) and 8(0) above. Law enforcement also recovered a PenFed Visa Debit

Card bearing K.M.'s name and card number. More than 50 USAA accounts were

either opened, or attempted to be opened, using the same PII.

             q.    On or about October 1, 2019, A.P.'s name, date of birth, and social

security number were used to open two PenFed accounts, ending in 0026 and 6013,

via telephone. On or about October 4, 2019, Defendant CORIONTA DOMINIQUE

COOPER deposited 11 NSF checks, totaling approximately $5,500.00, into the A.P.

account ending in 0026, at an NFCU ATM in Columbia, South Carolina. Various

checks were deposited, including checks written on the closed RBC Bank account of

J.G.M. , the closed Branch Banking & Trust Company account of K.D.L. and A.S.H. ,

and the closed Fifth Third Bank account of E.W.

             On or about October 5, 2019, Defendant MARIEL DURAND INGRAM

deposited 6 NSF checks, totaling approximately $3,300.00, into the A.P. account at

an NFCU ATM in Columbia, South Carolina. The checks mirrored the J.G.M. checks

Defendant CORIONTA DOMINIQUE COOPER deposited the day prior.                      An

unidentified female conspirator deposited at lea st 3 E.W. checks into the account at

an NFCU ATM in Columbia, South Carolina while seated in the backseat of a vehicle

driven by Defendant STEPHAN ANTONIO JOHNSON.                Continuing on or about

October 5, Defendant JOHN ARCHIE MCNEILL JR. conducted 2 transactions on the

A.P. account, totaling approximately $305.77, at Walmart and Kroger stores in

Columbia, South Carolina.     Between October 4 and 5, unidentified conspirators



                                         16
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 16 of 27
conducted at least 17 POS transactions on the account at Kroger stores in Augusta,

Georgia and Columbia, South Carolina, as well as at Walmart stores in Columbia,

South Carolina. P enFed sustained a total approximate loss of $1 5,244.20 on the A.P.

account.

             r.    On or about October 7, 2019, R.W.'s name, date of birth, a nd social

security number were used to open a P enFed account, ending in 4023, via telephone.

On or about October 10, 2019, Defendant JOHN ARCHIE MCNEILL JR. deposited

at least 2 NSF checks, totaling approximately $1,57 1.76, into the R.W. account at an

NFCU ATM in Fayetteville, North Carolina. That day, Defendant JOHN ARCHIE

MCNEILL JR. conducted at least 4 transactions, totaling approximately $2,674.70,

on the R.W. account at Walmart and Food Lion stores in Fayetteville and Hop e Mills,

North Carolina. PenFed sustained a total approximate loss of $8,204.51 on the R.W.

account .

            s.     On or about October 15, 2019, J.L.'s name, date of birth, and

social security number were used to open a P enFed account, ending in 0315, via

telephone. On or about October 17, 2019, Defendant MARIEL DURAND INGRAM

deposited 17 NSF checks, totaling approximately $9,400.00, into the J.L. account at

an NFCU ATM in Brookhaven , Georgia. At least 7 of the deposited checks mirrored

the K.B. USAA Bank ch ecks Defendants ERICKA ANDREA MONIQUE JOHNSON

and STEPHAN ANTONIO JOHNSON deposited into the L.E. , J.J. , and A.G. accounts

referenced in P aragrap hs 8(1), 8(n) and 8(0) above. That day, Defendant CORIONTA

DOMINIQUE COOPER conduct ed at least 2 transactions, totaling approximately



                                         17
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 17 of 27
$1,987.48, on the J .L. account at a Walmart in Atlanta, Georgia. Defendant MARIEL

DURAND INGRAM conducted at least one additional transaction on the account, for

approximately $1,003.74, at the same Walmart. PenFed sustained a total

approximate loss of $8,485.20 on the J.L. account.

             t.    On or about October 30, 2019, K.J.'s n a me, date of birth, and

social security number were used to open two P enFed accounts, ending in 4015 and

4023, via telephone. On or about November 8, 2019, Defenda nt MALCOLM RASOUL

SANCHEZ deposited 49 NSF checks, totaling approximately $25,805.00, into the K.J.

account ending in 4023 at an NFCU ATM in Cameron, North Carolin a. The deposited

ch ecks, printed on the same paper with the same security features, listed various

entities as payor and K.J. as payee . Defendant FREDERICK DESHAWN JOHNSON

deposited 22 a dditional NSF checks, totaling approximately $5,390.00, into the K.J.

account ending in 4023 at t h e same NFCU ATM in Cameron. The ch ecks were similar

to the ones Defendant MALCOLM RASOUL SANCHEZ deposited into the account.

That day, Defendant MALCOLM RASOUL SANCHEZ conducted at least 4

transactions, totaling approximately $7,012.08, on the K.J. account at a Walmart in

Cameron and Food Lion stores in Sanford, North Carolina.

      On or about November 9, 2019, an unidentified conspirat or deposited 25 NSF

checks, totaling approximately $12,075 .00, into the K.J. account ending in 4015 at an

NFCU ATM in Cameron, North Carolina. The ch ecks ,mirrored the checks deposited

into the K.J. account ending in 4023 th e day prior. That day, Defendant MALCOLM

RASOUL SANCHEZ conducted at least 2 transactions on the K.J. account ending in



                                         18
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 18 of 27
4023, totaling approximately $3,002.76, at Food Lion stores in Red Springs and

Fayetteville, North Carolina.   Defendant SANCHEZ purchased several $500.00

Western Union money orders, including one issued to the accountholder K.J. PenFed

sustained a total approximate loss of $19,562.58 on the K.J. account.

             u.    On or about November 13, 2019, L.C.'s name, date of birth, and

social security number were used to open a PenFed account, ending in 3024, via

telephone.   On or about November 18, 2019, the Ring Camera belonging to L.C.

captured Defendant MONTAGUE AARON MCMILLAN removing a package from

L.C.'s doorstep in West Grove, Pennsylvania, and entering a vehicle driven by

Defendant    ANTREAL      HENDERSON.          That    day,   Defendant   ANTREAL

HENDERSON deposited 14 NSF checks, totaling approximately $6,996.00, into the

L.C. account at NFCU ATMs in Cherry Hill, New Jersey, and Bel Air, Maryland. At

least one of the checks was written on the fictitious SECU account of A.D.M.

Defendant MONTAGUE AARON MCMILLAN deposited 13 additional NSF checks

into the L.C. account at the same NFCU ATMs. At least 4 of the deposited checks

mirrored the checks Defendant HENDERSON deposited into the account.

      On or about November 19, 2019, Defendant ANTREAL HENDERSON

deposited 21 NSF checks, totaling approximately $10,500.00, into the L.C. at an

NFCU ATM in Fayetteville, North Carolina.       The deposited checks included the

A.D .M. SECU checks deposited the day before as well as checks written on the USAA

Bank account of A.S . and the Wachovia Bank account of D.S. Defendant ANTREAL

HENDERSON conducted at least 16 transactions on the L.C. account, totaling



                                         19
       Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 19 of 27
approximately $6,896.69, at Walmart and Food Lion stores in Lumberton and Red

Springs, North Carolina, as well as at an ATM in Fayetteville, North Carolina.

PenFed sustained a total approximate loss of $21,454.70 on the L.C. account.

             V;    On or about October 5, 2019, Defendant STEVEN LARUE

ROBINSON's name, date of birth, and social security number were used to open a

PenFed account, ending in 1026, via telephone. On or about November 23, 2019,

Defendant FREDERICK DESHAWN JOHNSON deposited 23 NSF checks, totaling

approximately $10,812.00, into the account at an NFCU ATM in Fayetteville, North

Carolina. The deposited checks, printed on the same paper with the same security

features, listed various entities as payor.   Defendant FREDERICK DESHAWN

JOHNSON conducted at least 2 transactions, totaling approximately $3,002.76, on

the account at Fayetteville Food Lion stores.       Defendant STEVEN LARUE

ROBINSON was present for one of those purchases.

      On or about November 24, 2019, Defendant FREDERICK DESHAWN

JOHNSON deposited 20 NSF checks, totaling approximately $9,640.00, into the

ROBINSON account at an NFCU ATM in Fayetteville. The checks were similar to

the checks deposited into the account on or about November 23.          Defendants

FREDERICK DESHAWN JOHNSON and STEVEN LARUE ROBINSON then

conducted at least 1 transaction, for approximately $1,501.38, at a Walmart in Hope

Mills, North Carolina.

      On or about November 25, 2019, Defendant FREDERICK DESHAWN

JOHNSON also made 2 cash withdrawals, totaling approximately $1,000.00, at a



                                        20
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 20 of 27
Fayetteville NFCU ATM and then deposited 15 NSF checks, totaling approximately

$7,180.00, into the account.    The checks were similar to the copies previously

deposited. Defendants FREDERICK DESHAWN JOHNSON and STEVEN LARUE

ROBINSON then conducted at least 6 transactions, totaling approximately

$5,709.67, at a Walmart in Hope Mills, North Carolina. PenFed sustained a total

approximate loss of $25,775.04 on the ROBINSON account.

             w.    On or about January 4, 2020, D.O.'s name, date of birth, and

social security number were used to open a PenFed account, ending in 1024, via

telephone.   On or about January 14, 2020, Defendant MALCOLM RASOUL

SANCHEZ deposited 44 NSF checks, totaling approximately $21,875.00, into the

D.O. account at an NFCU ATM in Highland Falls, New York. The deposited checks,

printed on the same paper with the same security features, listed various entities as

payor and were determined to be counterfeit.       Defendant MALCOLM RASOUL

SANCHEZ conducted at least 2 transactions, totaling approximately $2,007.48, on

the D.O. account at a Walmart in Secaucus, New Jersey. Defendant JOHNATHAN

MAURICE MACK conducted at least one transaction on the account, totaling

approximately $903. 74, at the same Walmart. Defendant MACK left the store with

Defendant STEPHAN ANTONIO JOHNSON. PenFed su stained a total approximate

loss of $8,933.66 on the D.O. account.

      All in violation of Title 18, United States Code, Section 1349.




                                         21
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 21 of 27
                     COUNTS TWO THROUGH TWENTY-SEVEN

      9.     Paragraphs 1 - 8 of Count One are incorporated by reference as if fully

set forth herein.

      10.    Beginning on or about the dates list ed below and continuing up through

and ending on or about the dates listed below, in the Eastern District of North

Carolina    and     elsewhere,   Defendants    CORIONTA   DOMINIQUE        COOPER,

ANTREAL HENDERSON, ERICKA ANDREA MONIQUE JOHNSON, FREDERICK

DESHAWN JOHNSON, ROBERT AHSAMD JOHNSON, STEPHAN ANTONIO

JOHNSON, MONTAGUE AARON MCMILLAN, JASMA TERA MCNEILL, JOHN

ARCHIE MCNEILL JR. , STEVEN LARUE ROBINSON, MALCOLM RASOUL

SANCHEZ, and other persons, both known and unknown to the Gra nd Jury, did

knowingly execute a scheme and artifice to defraud fina ncial institutions as defined

in Title 18, United States Code, Section 20, to obtain money, funds, credits, assets,

securities, a nd other property owned by, and under the custody a nd control of, said

financial institutions, by me ans of materially false and fraudulent pretenses,

representations, and promises, that is, Defendants CORIONTA DOMINIQUE

COOPER, ANTREAL HENDERSON, ERICKA ANDREA MONIQUE JOHNSON,

FREDERICK DESHAWN JOHNSON, ROBERT AHSAMD JOHNSON, STEPHAN

ANTONIO      JOHNSON, MONTAGUE AARON MCMILLAN, JASMA TERA

MCNEILL, JOHN ARCHIE MCNEILL JR., STEVEN LARUE ROBINSON,

MALCOLM RASOUL SANCHEZ and other persons, aiding a nd abetting each other,

deposited NSF checks into Pentagon Federal Credit Union checking accounts the



                                          22
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 22 of 27
     con spirators opened and/or accessed a nd lat er withdrew, or attempted to withdraw,

     a portion of said funds from the accounts, and m a de purchases, or attempted to make

     purch ases, a gainst the deposit credit before the fraud was detected, as detailed in the

     following t able, thereby cau sing losses to Pentagon Feder al Credit Union :

COUNT        DEFENDANT                     PENFED             OFFENSE         TRANSACTION
                                           ACCOUNT            DATE
                                                              (on or about)
2            Malcolm Rasoul Sa nchez       M.W. ending        10/29/2018      $500 ATM
                                           in 6027                            withdraw al

3            Robert Ahsamd J ohnson        N.M. ending        2/1/2019        $5 00 ATM
                                           in 3022                            withdrawal

4            Robert Ahsa md J ohnson        R.B . ending in   5/10/2019       $501.95 PO S
                                            701 8                             transaction

5            Stepha n Antonio J ohnson      R.B. ending in    5/10/2019       $102.01 ·pos
                                            7018                              t ran saction

6            Stepha n Ant onio J ohnson    R.M. ending        8/3/2019        $500 ATM
                                           in 9020                            withdrawal

7            Montague Aaron McMilla n      R. M. ending       8/3/2019        $35 0.46 POS
                                           in 9020                            t ran saction

8            Ericka Andrea Monique         R.M. ending        8/3/2019        $640 ch eck deposit
             Johnson                       in 9020                            (Wells F a r go check
                                                                              no. 188, D.G. liste d
                                                                              as payor)

9            J asm a Tera McNeill          R.M. ending        8/3/2019        $933.80 POS
                                           in 9020                            tra n saction

10           Antreal H enderson            A. H . ending in   8/15/2019       $5 00 ch eck deposit
                                           2028                               (P NC Ba nk ch eck
                                                                              no. 717, J .C. listed
                                                                              as payor)

11           E ricka Andrea Monique        K M. en ding       8/2 1/2019      $710 check deposit
             J oh nson                     in 8024                            (PNC Ba nk ch eck
                                                                              no. 1315, L.C. listed
                                                                              as payor)



                                                23
             Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 23 of 27
12   Corionta Dominique Cooper   KM. ending       8/21/2019   $500 check deposit
                                 in 8024                      (SECU check no.
                                                              1148, G.C. listed as
                                                              payor)

13   Stephan Antonio Johnson     KM. ending       8/21/2019   $640 check deposit
                                 in 8024                      (PNC Bank check
                                                              no. 1319, L.C. listed
                                                              as payor)

14   J asma Tera McN eill        KM. ending       8/21/2019   $1,003.74 cash out
                                 in 8024                      plus service fee

15   Malcolm Rasoul Sanchez      T.C. ending in   8/26/2019   $500 check deposit
                                 6026                         (JP Morgan Chase
                                                              Bank check no. 27 4,
                                                              N.B.C. LLC listed as
                                                              payor)

16   Stephan Antonio Johnson     L.E. ending in   8/26/2019   $700 check deposit
                                 9025                         (USAA Bank check
                                                              no. 785, KB. listed
                                                              as payor)

17   Jasma Tera McNeill          L.E. ending in   8/26/2019   $407.88 POS
                                 9025                         transaction

18   Ericka Andrea Monique       L.E. ending in   8/27/2019   $720 check deposit
     Johnson                     9025                         (USAA Bank check
                                                              no. 803, KB. listed
                                                              as payor)

19   John Archie McNeill, Jr.    F.S. ending in   8/30/2019   $75 0 check deposit
                                 7021                         (USAA Bank check
                                                              no. 114, KB. liste d
                                                              as payor)

20   Jasma Tera McNeill          J.J. ending in   9/16/2019   $650 check deposit
                                 0020                         (USAA Bank check
                                                              no. 704, KB. listed
                                                              as payor)

21   Ericka Andrea Monique       A.G. ending in   9/16/2019   $6 10 check deposit
     Johnson                     5025                         (USAA Bank check
                                                              no. 708, KB. listed
                                                              as payor)




                                     24
     Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 24 of 27
22           Ericka Andrea Monique          J.J. ending in   9/17/2019      $620 check deposit
             Johnson                        0020                            (USAA Bank check
                                                                            no. 732, KB. listed
                                                                            as payor)

23           John Archie McNeill, Jr.       R.W. ending      10/10/201 9    $836.20 check
                                            in 4023                         deposit (Fifth Third
                                                                            Bank check no.
                                                                            2583, E.W. listed as
                                                                            payor)

24           Malcolm Rasoul Sanchez         K.J. ending in   11/9/2019      $2,502. 30 POS
                                            4023                            transaction

25           Antreal H ender son            L.C. ending in   11/19/201 9    $500 check deposit
                                            3024                            (USAA Bank check
                                                                            no. 1100, AS. listed
                                                                            as payor)

26           Frederick Deshawn              S.R. ending in   11/24/2019     $480 check deposit
             Johnson                        1026                            (SECU check no.
                                                                            2545, P.H. listed as
                                                                            payor)

27           Steven Laru e Robinson         S.R. ending in   11/25/2019     $1,501.38 POS
                                            1026                            transaction



     All in violation of Title 18, United States Code , Sections 1344(1), 1344(2) and 2 .

                     COUNTS TWENTY-EIGHT THROUGH THIRTY-ONE

            11.    P aragraphs 1 - 8 of Count One are incorp orated by reference as if fully

     set forth h erein.

            12.    Beginning on or about t h e dates listed below and continuing up through

     and ending on or about t h e dates listed below, in the E astern District of North

     Carolina and elsewhere, Defenda nts ERICKA ANDREA MONIQUE JOHNSON,

     ROBERT AHSAMD JOHNSON, STEPHAN ANTONIO JOHNSON, and J ASMA

     TERA MCNEILL, aiding a nd abetting others known and unknown to the grand jury,


                                                25
              Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 25 of 27
did knowingly transfer, possess, and use , without lawful authority, a means of

identification of another person, that is, the n ame , bank account number a nd

ATM/debit card issued to the individuals listed below, knowing that the means of

identification belonged to another person, during and in relation to a felony violation
                                                                                     /

enumerated in Title 18, United States Code, Section 1028A(c) , to wit, conspiracy to

commit bank fraud , in violation of Title 18, United States Code, Section 1349, and

bank fraud, in violation of Title 18 United States Code, Section 1344, as charged in

the counts listed below and incorporate d h erein:

 COUNT DEFENDANT                        OFFENSE           IDENTITY        CHARGED
                                        DATE(S)                           COUNTS
                                        (on or about)
 28         Robert Ahsamd Johnson       2/1/2019           N.M.           1, 3

 29         Ericka Andrea Monique       7/31-8/3/2019      R.M.           1, 8
            Johnson
 30         Steph an Antonio Johnson    8/21/2019          K.M            1, 13

 31         Jasma Tera McNeill          9/16/2019         J.J.            1, 20



      All in violation of Title 18, United States Code, Sections 1028A(a) (l) and 2.



                               FORFEITURE NOTICE
      Upon conviction of one or more of the offenses set forth in Counts One through

Twenty-Seven of this Indictment, the defendant shall forfeit to t h e United States,

pursuant to Tit le 18, United States Code, Section 982(a)(2)(A) , any property

con stituting, or derived from, proceeds obtained, directly or indirectly, as a result of

said violation.


                                           26
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 26 of 27
      If any of the above-described forfeitable property, as a result of any act or

omission of a defendant: cannot be located upon the exercise of due diligence ; has

been transferred or sold to, or deposited with, a third party; has bee n placed beyond

the jurisdiction of the court; has been sub stantially diminish ed in value; or has been

commingled with other property which cannot be divided without difficulty; it is the

intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

to seek forfeiture of any other property of said defendant up to the value of the

forfeitable property described above .



                                               A TRUE BILL




                                               DATE



ROBERT J . HIGDON, JR
United States Attor




Special Assistant United States Attorney




                                          27
        Case 5:20-cr-00334-BO Document 4 Filed 07/08/20 Page 27 of 27
